       USM-285 is a 5-part form. Fill out the form and print 5 copies. Sign as needed and route as specified below.
                            Case 3:22-cv-04082-AGT Document 18 Filed 11/16/22 Page 1 of 1
  U.S. Department of Justice                                                                                                 PROCESS RECEIPT AND RETURN
  United States Marshals Service                                                                                             See "Instructions for Service of Process by U.S. Marshal"

   PLAINTIFF                                                                                                                                                  Case Number:
    David A. Stebbins                                                                                                                                         3:22-cv-04082-AGT
   DEFENDANT                                                                                                                                                TYPE OF PROCESS
       CMDR ImperialSalt and ZellZander                                                                                                                    ***See below***
                        NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

       SERVE
          AT     {       Youtube- Registered agent: Corporation Service Company
                        ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)
                         Corporation Service Company- 2710 Gateway Oaks Drive, Suite 150N, Sacramento, CA 95833

   SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW                                                                                   Number of process to be
                                                                                                                                                        served with this Form 28      2

                                                            David A. Stebbins                                                                           Number of parties to be
                                                            123 W. Ridge Ave.,                                                                          served in this case           1
                                                            APT D
                                                            Harrison, AR 72601
                                                                                                                                                        Check for service
                                                                                                                                                        on U.S.A.

       SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
       All Telephone Numbers, and Estimated Times Available for Service):
Fold                                                                                                                                                                                                      Fold


        ***Subpoena, Docket No. 16***




   Signature of Attorney other Originator requesting service on behalf of:
                                             ST
                                               ATE
                                                  S DISTR
                                                         IC
                                                           T
                                                                                                                             ✘   PLAINTIFF           TELEPHONE NUMBER                  DATE
                                         D
                                                                               Mark B.Busby
                                                                   CO
                                     E
                                   IT




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                                                                                                                                                                                          11/16/2022
                                 UN




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                                                                                                                                 DEFENDANT           510-637-3535
                                N O RT




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       SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE
   I acknowledge receipt for the total                                   Total Process        District of      District to        Signature of Authorized USMS Deputy or Clerk                 Date
   number of process indicated.                                                               Origin           Serve
   (Sign only for USM 285 if more
   than one USM 285 is submitted)                                                             No.              No.

   I hereby certify and return that I  have personally served ,       have legal evidence of service,     have executed as shown in "Remarks", the process described
   on the individual , company, corporation, etc., at the address shown above on the on the individual , company, corporation, etc. shown at the address inserted below.

          I hereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)
   Name and title of individual served (if not shown above)                                                                                                        A person of suitable age and discretion
                                                                                                                                                                   then residing in defendant's usual place
                                                                                                                                                                   of abode
   Address (complete only different than shown above)                                                                                                          Date                  Time
                                                                                                                                                                                                              am
                                                                                                                                                                                                              pm

                                                                                                                                                               Signature of U.S. Marshal or Deputy


   Service Fee          Total Mileage Charges Forwarding Fee                                                Total Charges         Advance Deposits     Amount owed to U.S. Marshal* or
                        including endeavors)                                                                                                           (Amount of Refund*)

                                                                                                                                                                             $0.00
   REMARKS:




   PRINT 5 COPIES: 1. CLERK OF THE COURT                                                                                                                                    PRIOR EDITIONS MAY BE USED
                   2. USMS RECORD
                   3. NOTICE OF SERVICE
                   4. BILLING STATEMENT*: To be returned to the U.S. Marshal with payment,                                                                                                         Form USM-285
                      if any amount is owed. Please remit promptly payable to U.S. Marshal.                                                                                                         Rev. 12/15/80
                   5. ACKNOWLEDGMENT OF RECEIPT                                                                                                                                                   Automated 01/00
